                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                               3:22-MD-03036-KDB


                                                          )
 IN RE: GARDASIL PRODUCTS LIABILITY                       )                MDL No. 3036
 LITIGATION                                               )
                                                          )      THIS DOCUMENT RELATES TO
                                                          )        ALL BELLWETHER CASES
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           MERCK’S MOTION TO EXCLUDE TESTIMONY AND OPINIONS
             OF PLAINTIFFS’ EXPERT MARTIN KULLDORFF, PH.D.
                       Fed R. Evid. 702, Local Civ. R. 7.1

       Defendants Merck & Co., Inc. and Merck, Sharp & Dohme LLC (together, “Merck”)

respectfully move to exclude the testimony of Plaintiffs’ expert Martin Kulldorff, Ph.D. In

support of this motion, Merck concurrently submits its Memorandum in Support.

       This the 6th day of January, 2025.

                                                 /s/ Allyson M. Julien

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